    Case 2:12-cv-00859-LMA-MBN Document 1507 Filed 04/12/22 Page 1 of 1




                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL                                     CIVIL ACTION

VERSUS                                                   NO. 12-859

MARLIN GUSMAN, ET AL                                     SECTION I


                                   ORDER


      In view of the resignation of Dr. Raymond Patterson, who is the Court

appointed Monitor of mental health at the Orleans Justice Center, and with the

consent of the parties to the Consent Judgment, Dr. Nicole Reed Johnson is

appointed as a Monitor for mental health at the Orleans Justice Center, pursuant to

IX MONITORS of the Consent Judgment in the above captioned case.

      New Orleans, Louisiana April 12, 2022.



                               ____________________________________________
                                           LANCE M. AFRICK
                               UNITED STATES DISTRICT JUDGE
